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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      Umrpn SrerBs Dlsrmcr CoURT
                                                                for the

                                                      District of Massachusetts

MAURA O'NElLL, as administrator of the                            )
Estate of Madelyn E. Linsenmeir,                                  )
                                                                  )
                                                                  )
                            Plaintif(s)                           )
                                                                  )       Civil Action No
                                                                  )
CITY OF SPRINGFIELD, MOISES
ZANAZANIAN, REMINGTON MCNABB,                                     )
SHEILA RODRIGUEZ, HAMPDEN                                         )
COUNTY SHERIFF'S DEPARTMENT, and                                  )
JOHN/JANE DOES NOS. 1-5.                                          )
                           Defendant(s)                            )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant's name andaddress)
                                          REMINGTON MCNABB
                                          Springf¡eld Police Department
                                          130 P"earl Street
                                          Springfield, MA 01 105



          A lawsuit has been fìled against you.

         Within 21 days after service of this summons on you (not counting the day you received it)     or 60 days if you
                                                                                                             -
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)   you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
                      -
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff s attorney,
whose name and address         are: Richard J. Rosensweiq
                                          Goulston & Storrs PC-
                                          400 Atlantic Avenue
                                          Boston, MA 02110


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:
                                                                                       Signature of Clerk or Deputy Clerk
                  Case 3:20-cv-30036-MGM Document 1-5 Filed 03/05/20 Page 2 of 2


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 Civil Action No.

                                                           PROOF OF SERVICE
                       (This section should not be jiled with the court unless requ¡red by Fed. R. Civ. P. 4 (l))

           This summons for @ame of individual and title, if any)
 was received by me on (date)


           |1 I personally served the summons on the individual at (place)
                                                                                on (date)                             ;or
           il I left the summons at the individual's residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual's last known address; or

           Û I served the summons on (name of individual)                                                                     , who is
            designated by law to accept service ofprocess on behalfof @ame oforganization)
                                                                                on (date)                             ;or
           il I returned the summons unexecuted because                                                                            ;or

           D Other (specifu):



           My fees are $                           for travel and $                  for services, for a total of $         O.0O



           I declare under penalty of perjury that this information is true.



 Date:
                                                                                            Server's signaÍure



                                                                                        Printed name and title




                                                                                            Server's address


Additional information regarding attempted service, etc
